         Case 3:16-cv-00842-SDD-RLB Document 67                 05/10/18 Page 1 of 1



                           UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA


EARL PETERS, ET AL.                                                 CIVIL ACTION

VERSUS
                                                                    NO. 16-842-SDD-RLB
RAMAN SINGH, ET AL.


                             AMENDED SCHEDULING ORDER

       Considering Defendants’ Consent Motion to Extend Discovery Deadline (R. Doc. 66)

filed on May 9, 2018, and for good cause shown;

       IT IS ORDERED that the Motion is GRANTED. In accordance with Federal Rule of

Civil Procedure 16(b)(4), the deadline for filing all discovery motions and completing all

discovery except experts is extended to August 14, 2018. All other deadlines remain

unchanged.

       Signed in Baton Rouge, Louisiana, on May 10, 2018.




                                             S
                                             RICHARD L. BOURGEOIS, JR.
                                             UNITED STATES MAGISTRATE JUDGE
